Case 1:98-cr-00038-JMS-MJD Document 102 Filed 07/20/16 Page 1 of 2 PageID #: 1381




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


    UNITED STATES OF AMERICA,                     )
                                                  )
                                Plaintiff,        )
                                                  )
                         vs.                      )         No. 1:98-cr-00038-LJM-MJD
                                                  )
    ANTHONY SPRADLEY (01),                        )
                                                  )
                                Defendant.        )


                                             ORDER

        Defendant Anthony Spradley (“Defendant”) has moved to obtain a copy of the

  transcript from a hearing held on his challenge to the calculation of his sentencing range

  under the U.S. Sentencing Guidelines. CM/ECF Dkt. No. 101. Transcripts will not be

  produced at public expense based on the Defendant’s mere request. See United States

  v. Estupinan-Paredes, 967 F. Supp. 39, 40-41 (D.P.R. 1997). The transcript Defendant

  seeks can only be provided at public expense upon a determination by the Court that the

  transcript is needed to decide an issue presented in a non-frivolous proceeding pursuant

  to 28 U.S.C. § 2255, or in some other non-frivolous proceeding that presents a substantial

  question. See 28 U.S.C. § 753(f). These circumstances are not present in this cause at

  this time. However, a transcript of the proceedings was prepared prior to Defendant’s

  direct appeal and is comprised of 40 pages. JAMS Dkt. No.372. Therefore, the Motion

  is GRANTED to the extent that if Defendant wants to obtain a copy of this transcript, he

  may obtain it by paying $0.50 per page, to the Clerk of the Court, Birch Bayh Federal
Case 1:98-cr-00038-JMS-MJD Document 102 Filed 07/20/16 Page 2 of 2 PageID #: 1382




  Building and United States Courthouse, 46 East Ohio Street, Room 105, Indianapolis,

  Indiana, 46204.

         IT IS SO ORDERED.




            07/20/2016
  DATED: ___________________                      ________________________________
                                                  LARRY J. McKINNEY, JUDGE
                                                  United States District Court
                                                  Southern District of Indiana




  Distribution:

  Anthony Spradley
  Reg. No. 05772-028
  Federal Correctional Institution, Whitley – A
  P.O. Box 4000
  Manchester, KY 40962-4000

  Bradley A. Blackington
  UNITED STATES ATTORNEY'S OFFICE
  bradley.blackington@usdoj.gov
